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                      UNITED STATES COURT OF APPEALS
                                                                       FILED
                             FOR THE NINTH CIRCUIT
                                                                       AUG 31 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




   DENNIS J. SEIDER, as Trustee of the           No. 21-55293
   Seider Family Trust and LEAH
   SEIDER, as Trustee of the Seider
                                                 D.C. No. 2:20-cv-08781-PA-MRW
   Family Trust,
                                                 U.S. District Court for Central
                 Plaintiffs - Appellants,        California, Los Angeles

     v.                                          MANDATE

   CITY OF MALIBU,

                 Defendant - Appellee.


          The judgment of this Court, entered June 01, 2022, takes effect this date.

          This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Quy Le
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
